                Case 17-12560-KJC    Doc 3063-3   Filed 11/27/18   Page 1 of 10



                                        EXHIBIT B

                                    BROKER AGREEMENT




01:23901421.1
                      Case 17-12560-KJC            Doc 3063-3          Filed 11/27/18      Page 2 of 10
  1
  2
  3                                       Aspen Snowmass Sotheby`s
  4
  5
                                          Laura Gee Laura.Gee@SothebysRealty.com;
  6                                       raleigh.vos@sothebysrealty.com
  7                                       Ph: 970-948-8568
  8
  9      The printed portions of this form, except differentiated additions, have been approved by the Colorado
  10     Real Estate Commission. (LC50-6-16) (Mandatory 1-17)
  11
  12
  13
         THIS IS A BINDING CONTRACT. THIS FORM HAS IMPORTANT LEGAL CONSEQUENCES AND THE
  14     PARTIES SHOULD CONSULT LEGAL AND TAX OR OTHER COUNSEL BEFORE SIGNING.
  15
  16     Compensation charged by brokerage firms is not set by law. Such charges are established by each real
  17
  18
         estate brokerage firm.
  19
  20     DIFFERENT BROKERAGE RELATIONSHIPS ARE AVAILABLE WHICH INCLUDE BUYER AGENCY,
  21     SELLER AGENCY OR TRANSACTION-BROKERAGE.
  22
  23
  24                                    EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT
  25
  26                                   SELLER AGENCY                 TRANSACTION-BROKERAGE
  27
  28
  29                                                                                               Date: 4/13/2018
  30
  31
  32
         1. AGREEMENT. Seller and Brokerage Firm enter into this exclusive, irrevocable contract (Seller Listing
  33     Contract) and agree to its provisions. Broker, on behalf of Brokerage Firm, agrees to provide brokerage
  34     services to Seller. Seller agrees to pay Brokerage Firm as set forth in this Seller Listing Contract.
  35
  36
  37     2.   BROKER AND BROKERAGE FIRM.
  38          2.1. Multiple-Person Firm. If this box is checked, the individual designated by Brokerage Firm to serve
  39     as the broker of Seller and to perform the services for Seller required by this Seller Listing Contract is called
  40
  41     Broker. If more than one individual is so designated, then references in this Seller Listing Contract to Broker
  42     include all persons so designated, including substitute or additional brokers. The brokerage relationship exists
  43     only with Broker and does not extend to the employing broker, Brokerage Firm or to any other brokers
  44
  45
         employed or engaged by Brokerage Firm who are not so designated.
  46          2.2. One-Person Firm. If this box is checked, Broker is a real estate brokerage firm with only one
  47     licensed natural person. References in this Seller Listing Contract to Broker or Brokerage Firm mean both the
  48
         licensed natural person and brokerage firm who serve as the broker of Seller and perform the services for
  49
  50     Seller required by this Seller Listing Contract.
  51
  52     3.    DEFINED TERMS.
  53
  54           3.1.     Seller:      Woodbridge Group of Companies, LLC
  55
  56
  57           3.2.     Brokerage Firm: Aspen Snowmass Sotheby`s
  58
  59
  60           3.3.     Broker: Laura Gee
  61
  62           3.4.     Property. The Property is the following legally described real estate in the County of ,Colorado:
  63
  64     See attached Exhibit A ,
  65     known as No. , CO ,
  66
  67     together with the interests, easements, rights, benefits, improvements and attached fixtures appurtenant
  68     thereto, and all interest of Seller in vacated streets and alleys adjacent thereto, except as herein excluded.
  69         3.5. Sale; Lease.
  70
LC50-6-16.    EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                 Page 1 of 9




                                          CTMeContracts.com - ©2018 CTM Software Corp.
                     Case 17-12560-KJC            Doc 3063-3          Filed 11/27/18    Page 3 of 10
  71                3.5.1. A Sale is the voluntary transfer or exchange of any interest in the Property or the voluntary
  72
         creation of the obligation to convey any interest in the Property, including a contract or lease. It also includes
  73
  74     an agreement to transfer any ownership interest in an entity which owns the Property.
  75              3.5.2. If this box is checked, Seller authorizes Broker to negotiate leasing the Property. Lease of the
  76     Property or Lease means any agreement between the Seller and a tenant to create a tenancy or leasehold
  77
  78     interest in the Property.
  79           3.6.       Listing Period. The Listing Period of this Seller Listing Contract begins on 4/13/2018 , and
  80
         continues through the earlier of (1) completion of the Sale of the Property or (2) 4/13/2019 , and any written
  81
  82     extensions (Listing Period). Broker must continue to assist in the completion of any Sale or Lease for which
  83     compensation is payable to Brokerage Firm under § 7 of this Seller Listing Contract.
  84
  85
              3.7. Applicability of Terms. A check or similar mark in a box means that such provision is applicable.
  86     The abbreviation “N/A” or the word “Deleted” means not applicable. The abbreviation “MEC” (mutual execution
  87     of this contract) means the date upon which both parties have signed this Seller Listing Contract.
  88
  89
              3.8. Day; Computation of Period of Days, Deadline.
  90                3.8.1. Day. As used in this Seller Listing Contract, the term “day” means the entire day ending at
  91     11:59 p.m., United States Mountain Time (Standard or Daylight Savings as applicable).
  92
                    3.8.2. Computation of Period of Days, Deadline. In computing a period of days, when the ending
  93
  94     date is not specified, the first day is excluded and the last day is included, e.g., three days after MEC. If any
  95     deadline falls on a Saturday, Sunday or federal or Colorado state holiday (Holiday), such deadline          Will
  96     Will Not be extended to the next day that is not a Saturday, Sunday or Holiday. Should neither box be
  97
  98     checked, the deadline will not be extended.
  99
  100    4.     BROKERAGE RELATIONSHIP.
  101
  102
               4.1. If the Seller Agency box at the top of page 1 is checked, Broker represents Seller as Seller’s limited
  103    agent (Seller’s Agent). If the Transaction-Brokerage box at the top of page 1 is checked, Broker acts as a
  104    Transaction-Broker.
  105
               4.2. In-Company Transaction – Different Brokers. When Seller and buyer in a transaction are working
  106
  107    with different brokers, those brokers continue to conduct themselves consistent with the brokerage
  108    relationships they have established. Seller acknowledges that Brokerage Firm is allowed to offer and pay
  109    compensation to brokers within Brokerage Firm working with a buyer.
  110
  111          4.3. In-Company Transaction – One Broker. If Seller and buyer are both working with the same
  112    broker, Broker must function as:
  113               4.3.1. Seller’s Agent. If the Seller Agency box at the top of page 1 is checked, the parties agree
  114
  115
         the following applies:
  116                       4.3.1.1. Seller Agency Only. Unless the box in § 4.3.1.2 (Seller Agency Unless Brokerage
  117    Relationship with Both) is checked, Broker represents Seller as Seller’s Agent and must treat the buyer as a
  118
         customer. A customer is a party to a transaction with whom Broker has no brokerage relationship. Broker must
  119
  120    disclose to such customer Broker’s relationship with Seller.
  121                      4.3.1.2. Seller Agency Unless Brokerage Relationship with Both. If this box is checked,
  122    Broker represents Seller as Seller’s Agent and must treat the buyer as a customer, unless Broker currently has
  123
  124    or enters into an agency or Transaction-Brokerage relationship with the buyer, in which case Broker must act
  125    as a Transaction-Broker.
  126               4.3.2. Transaction-Broker. If the Transaction-Brokerage box at the top of page 1 is checked, or in
  127
  128
         the event neither box is checked, Broker must work with Seller as a Transaction-Broker. A Transaction-Broker
  129    must perform the duties described in § 5 and facilitate sales transactions without being an advocate or agent
  130    for either party. If Seller and buyer are working with the same broker, Broker must continue to function as a
  131
         Transaction-Broker.
  132
  133
  134    5. BROKERAGE DUTIES. Brokerage Firm, acting through Broker, as either a Transaction-Broker or a
  135    Seller’s Agent, must perform the following Uniform Duties when working with Seller:
  136
  137         5.1. Broker must exercise reasonable skill and care for Seller, including, but not limited to the following:
  138               5.1.1. Performing the terms of any written or oral agreement with Seller;
  139               5.1.2. Presenting all offers to and from Seller in a timely manner regardless of whether the
  140
LC50-6-16.    EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                Page 2 of 9




                                         CTMeContracts.com - ©2018 CTM Software Corp.
                    Case 17-12560-KJC            Doc 3063-3          Filed 11/27/18    Page 4 of 10
  141    Property is subject to a contract for Sale;
  142
                     5.1.3. Disclosing to Seller adverse material facts actually known by Broker;
  143
  144                5.1.4. Advising Seller regarding the transaction and advising Seller to obtain expert advice as to
  145    material matters about which Broker knows but the specifics of which are beyond the expertise of Broker;
  146                5.1.5. Accounting in a timely manner for all money and property received; and
  147
  148                5.1.6. Keeping Seller fully informed regarding the transaction.
  149          5.2. Broker must not disclose the following information without the informed consent of Seller:
  150                5.2.1. That Seller is willing to accept less than the asking price for the Property;
  151
  152
                     5.2.2. What the motivating factors are for Seller to sell the Property;
  153                5.2.3. That Seller will agree to financing terms other than those offered;
  154                5.2.4. Any material information about Seller unless disclosure is required by law or failure to
  155
         disclose such information would constitute fraud or dishonest dealing; or
  156
  157               5.2.5. Any facts or suspicions regarding circumstances that could psychologically impact or
  158    stigmatize the Property.
  159          5.3. Seller consents to Broker’s disclosure of Seller’s confidential information to the supervising broker
  160
  161    or designee for the purpose of proper supervision, provided such supervising broker or designee does not
  162    further disclose such information without consent of Seller, or use such information to the detriment of Seller.
  163          5.4. Brokerage Firm may have agreements with other sellers to market and sell their property. Broker
  164
  165
         may show alternative properties not owned by Seller to other prospective buyers and list competing properties
  166    for sale.
  167          5.5. Broker is not obligated to seek additional offers to purchase the Property while the Property is
  168
         subject to a contract for Sale.
  169
  170          5.6. Broker has no duty to conduct an independent inspection of the Property for the benefit of a buyer
  171    and has no duty to independently verify the accuracy or completeness of statements made by Seller or
  172    independent inspectors. Broker has no duty to conduct an independent investigation of a buyer’s financial
  173
  174    condition or to verify the accuracy or completeness of any statement made by a buyer.
  175          5.7. Seller understands that Seller is not liable for Broker’s acts or omissions that have not been
  176    approved, directed, or ratified by Seller.
  177
  178
               5.8. When asked, Broker         Will     Will Not disclose to prospective buyers and cooperating brokers
  179    the existence of offers on the Property and whether the offers were obtained by Broker, a broker within
  180    Brokerage Firm or by another broker.
  181
  182
  183    6.   ADDITIONAL DUTIES OF SELLER’S AGENT. If the Seller Agency box at the top of page 1 is checked,
  184    Broker is Seller’s Agent, with the following additional duties:
  185         6.1. Promoting the interests of Seller with the utmost good faith, loyalty and fidelity;
  186
  187         6.2. Seeking a price and terms that are set forth in this Seller Listing Contract; and
  188         6.3. Counseling Seller as to any material benefits or risks of a transaction that are actually known by
  189    Broker.
  190
  191
  192    7.    COMPENSATION TO BROKERAGE FIRM; COMPENSATION TO COOPERATIVE BROKER. Seller
  193    agrees that any Brokerage Firm compensation that is conditioned upon the Sale of the Property will be earned
  194
         by Brokerage Firm as set forth herein without any discount or allowance for any efforts made by Seller or by
  195
  196    any other person in connection with the Sale of the Property.
  197         7.1. Amount. In consideration of the services to be performed by Broker, Seller agrees to pay
  198    Brokerage Firm as follows:
  199
  200             7.1.1. Sale Commission. (1) 5% of the gross purchase price or (2) n/a, in U.S. dollars.
  201             7.1.2. Lease Commission. If the box in § 3.5.2 is checked, Brokerage Firm will be paid a fee equal to
  202    (1) n/a% of the gross rent under the lease, or (2) n/a, in U.S. dollars, payable as follows: n/a.
  203
  204            7.1.3. Other Compensation. See Exhibit A for properties (5 properties) that are an
  205    exception to the 5% Sale Commission .
  206
  207           7.2. Cooperative Broker Compensation. Brokerage Firm offers compensation to outside brokerage
  208    firms, whose brokers are acting as:
  209                  Buyer Agents: 2.5 % of the gross sales price or n/a, in U.S. dollars.
  210
LC50-6-16.   EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                Page 3 of 9




                                        CTMeContracts.com - ©2018 CTM Software Corp.
                     Case 17-12560-KJC            Doc 3063-3          Filed 11/27/18    Page 5 of 10
  211                  Transaction-Brokers: 2.5 % of the gross sales price or n/a, in U.S. dollars.
  212
  213
               7.3. When Earned. Such commission is earned upon the occurrence of any of the following:
  214               7.3.1. Any Sale of the Property within the Listing Period by Seller, by Broker or by any other person;
  215               7.3.2. Broker finding a buyer who is ready, willing and able to complete the Sale or Lease as
  216
         specified in this Seller Listing Contract; or
  217
  218               7.3.3. Any Sale (or Lease if § 3.5.2 is checked) of the Property within 90 calendar days after the
  219    Listing Period expires (Holdover Period) (1) to anyone with whom Broker negotiated and (2) whose name was
  220
         submitted, in writing, to Seller by Broker during the Listing Period (Submitted Prospect). Provided, however,
  221
  222    Seller    Will     Will Not owe the commission to Brokerage Firm under this § 7.3.3 if a commission is earned
  223    by another licensed real estate brokerage firm acting pursuant to an exclusive agreement entered into during
  224    the Holdover Period and a Sale or Lease to a Submitted Prospect is consummated. If no box is checked in this
  225
  226    § 7.3.3, then Seller does not owe the commission to Brokerage Firm.
  227           7.4. When Applicable and Payable. The commission obligation applies to a Sale made during the
  228    Listing Period or any extension of such original or extended term. The commission described in § 7.1.1 is
  229
  230
         payable at the time of the closing of the Sale, or, if there is no closing (due to the refusal or neglect of Seller)
  231    then on the contracted date of closing, as contemplated by § 7.3.1 or § 7.3.3, or upon fulfillment of § 7.3.2
  232    where the offer made by such buyer is not accepted by Seller.
  233
  234
  235    8. LIMITATION ON THIRD-PARTY COMPENSATION. Neither Broker nor Brokerage Firm, except as set
  236    forth in § 7, will accept compensation from any other person or entity in connection with the Property without
  237    the written consent of Seller. Additionally, neither Broker nor Brokerage Firm is permitted to assess or receive
  238
  239    mark-ups or other compensation for services performed by any third party or affiliated business entity unless
  240    Seller signs a separate written consent for such services.
  241
  242
  243
         9. OTHER BROKERS’ ASSISTANCE, MULTIPLE LISTING SERVICES AND MARKETING. Seller has
  244    been advised by Broker of the advantages and disadvantages of various marketing methods, including
  245    advertising and the use of multiple listing services (MLS) and various methods of making the Property
  246
         accessible by other brokerage firms (e.g., using lock boxes, by-appointment-only showings, etc.), and whether
  247
  248    some methods may limit the ability of another broker to show the Property. After having been so advised,
  249    Seller has chosen the following:
  250        9.1. MLS/Information Exchange.
  251
  252              9.1.1. The Property      Will      Will Not be submitted to one or more MLS and    Will     Will Not
  253    be submitted to one or more property information exchanges. If submitted, Seller authorizes Broker to provide
  254    timely notice of any status change to such MLS and information exchanges. Upon transfer of deed from Seller
  255
  256
         to buyer, Seller authorizes Broker to provide sales information to such MLS and information exchanges.
  257              9.1.2. Seller authorizes the use of electronic and all other marketing methods except: n/a.
  258              9.1.3. Seller further authorizes use of the data by MLS and property information exchanges, if any.
  259
  260
                   9.1.4. The Property Address        Will     Will Not be displayed on the Internet.
  261              9.1.5. The Property Listing      Will     Will Not be displayed on the Internet.
  262         9.2. Property Access. Access to the Property may be by:
  263
                     Manual Lock Box          Electronic Lock Box
  264
  265                n/a.
  266
  267              Other instructions: .
  268          9.3. Brokerage Marketing. The following specific marketing tasks will be performed by Broker:
  269    Refer to Woodbridge CO Assets - Marketing Plan Final (Attached)
  270
  271    .
  272
  273
         10.   SELLER’S OBLIGATIONS TO BROKER; DISCLOSURES AND CONSENT.
  274
  275         10.1. Negotiations and Communication. Seller agrees to conduct all negotiations for the Sale of the
  276    Property only through Broker, and to refer to Broker all communications received in any form from real estate
  277    brokers, prospective buyers, tenants or any other source during the Listing Period of this Seller Listing
  278
  279    Contract.
  280
LC50-6-16.   EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                 Page 4 of 9




                                         CTMeContracts.com - ©2018 CTM Software Corp.
                     Case 17-12560-KJC             Doc 3063-3          Filed 11/27/18    Page 6 of 10
  281           10.2. Advertising. Seller agrees that any advertising of the Property by Seller (e.g., Internet, print and
  282
         signage) must first be approved by Broker.
  283
  284           10.3. No Existing Listing Agreement. Seller represents that Seller             Is     Is Not currently a party
  285    to any listing agreement with any other broker to sell the Property.
  286           10.4. Ownership of Materials and Consent. Seller represents that all materials (including all
  287
  288    photographs, renderings, images or other creative items) supplied to Broker by or on behalf of Seller are
  289    owned by Seller, except as Seller has disclosed in writing to Broker. Seller is authorized to and grants to
  290    Broker, Brokerage Firm and any MLS (that Broker submits the Property to) a nonexclusive irrevocable,
  291
  292
         royalty-free license to use such material for marketing of the Property, reporting as required and the publishing,
  293    display and reproduction of such material, compilation and data. This license survives the termination of this
  294    Seller Listing Contract.
  295
                10.5. Colorado Foreclosure Protection Act. The Colorado Foreclosure Protection Act (Act) generally
  296
  297    applies if (1) the Property is residential (2) Seller resides in the Property as Seller’s principal residence (3)
  298    Buyer’s purpose in purchase of the Property is not to use the Property as Buyer’s personal residence and (4)
  299    the Property is in foreclosure or Buyer has notice that any loan secured by the Property is at least thirty days
  300
  301    delinquent or in default. If all requirements 1, 2, 3 and 4 are met and the Act otherwise applies, then a contract,
  302    between Buyer and Seller for the sale of the Property, that complies with the provisions of the Act is required. If
  303    the transaction is a Short Sale transaction and a Short Sale Addendum is part of the Contract between Seller
  304
  305
         and Buyer, the Act does not apply. It is recommended that Seller consult with an attorney.
  306
  307    11.   PRICE AND TERMS. The following Price and Terms are acceptable to Seller:
  308
  309
               11.1 Price. U.S. $ see Exhibit A
  310          11.2. Terms.           Cash       Conventional         FHA        VA       Other: n/a
  311
               11.3. Loan Discount Points. n/a
  312
  313          11.4. Buyer's Closing Costs (FHA/VA). Seller must pay closing costs and fees, not to exceed $ n/a,
  314    that Buyer is not allowed by law to pay, for tax service and n/a.
  315
  316          11.5. Earnest Money. Minimum amount of earnest money deposit U.S. $ 3-5% of purchase price in
  317    the form of check or wire transfer
  318
  319
               11.6. Seller Proceeds. Seller will receive net proceeds of closing as indicated:
  320         Cashier s Check at Seller s expense;           Funds Electronically Transferred (Wire Transfer) to
  321    an account specified by Seller, at Seller s expense; or         Closing Company s Trust Account Check
  322
               11.7. Advisory: Tax Withholding. The Internal Revenue Service and the Colorado Department of
  323
  324    Revenue may require closing company to withhold a substantial portion of the proceeds of this Sale when
  325    Seller either (1) is a foreign person or (2) will not be a Colorado resident after closing. Seller should inquire of
  326    Seller’s tax advisor to determine if withholding applies or if an exemption exists.
  327
  328
  329    12.    DEPOSITS. Brokerage Firm is authorized to accept earnest money deposits received by Broker
  330    pursuant to a proposed Sale contract. Brokerage Firm is authorized to deliver the earnest money deposit to the
  331
  332
         closing agent, if any, at or before the closing of the Sale contract.
  333
  334    13.     INCLUSIONS AND EXCLUSIONS.
  335
               13.1. Inclusions. The Purchase Price includes the following items (Inclusions):
  336
  337                 13.1.1. Fixtures. The following items are included if attached to the Property on the date of this
  338    Seller Listing Contract, unless excluded under Exclusions (§ 13.2): lighting, heating, plumbing, ventilating, and
  339    air conditioning fixtures, TV antennas, inside telephone, network and coaxial (cable) wiring and connecting
  340
  341    blocks/jacks, plants, mirrors, floor coverings, intercom systems, built-in kitchen appliances, sprinkler systems
  342    and controls, built-in vacuum systems (including accessories), garage door openers including any/all remote
  343    controls.
  344
  345    Other Fixtures:
  346    If any fixtures are attached to the Property after the date of this Seller Listing Contract, such additional fixtures
  347    are also included in the Purchase Price.
  348
  349                 13.1.2. Personal Property. The following items are included if on the Property, whether attached
  350
LC50-6-16.   EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                  Page 5 of 9




                                          CTMeContracts.com - ©2018 CTM Software Corp.
                    Case 17-12560-KJC             Doc 3063-3          Filed 11/27/18    Page 7 of 10
  351    or not, on the date of this Seller Listing Contract, unless excluded under Exclusions (§ 13.2): storm windows,
  352
         storm doors, window and porch shades, awnings, blinds, screens, window coverings, curtain rods, drapery
  353
  354    rods, fireplace inserts, fireplace screens, fireplace grates, heating stoves, storage sheds, and all keys. If
  355    checked, the following are included:       Water Softeners      Smoke/Fire Detectors          Carbon Monoxide
  356    Alarms        Security Systems            Satellite Systems (including satellite dishes); and
  357
  358    n/a
  359         The Personal Property to be conveyed at closing must be conveyed by Seller free and clear of all taxes
  360    (except personal property taxes for the year of closing), liens and encumbrances, except n/a.
  361
  362    Conveyance will be by bill of sale or other applicable legal instrument.
  363         13.1.3. Trade Fixtures. The following trade fixtures are included: n/a
  364
               The Trade Fixtures to be conveyed at closing must be conveyed by Seller, free and clear of all taxes
  365
  366    (except personal property taxes for the year of closing), liens and encumbrances, except n/a. Conveyance will
  367    be by bill of sale or other applicable legal instrument.
  368
              13.1.4. Parking and Storage Facilities.         Use Only        Ownership of the following parking facilities:
  369
  370    n/a;
  371    and    Use Only          Ownership of the following storage facilities:
  372
  373
         n/a.
  374        13.1.5. Water Rights. The following legally described water rights: n/a.
  375    Any water rights must be conveyed by n/a deed or other applicable legal
  376
  377    instrument. The Well Permit # is n/a.
  378          13.1.6. Growing Crops. The following growing crops:n/a.
  379
  380        13.2. Exclusions. The following are excluded (Exclusions):
  381    n/a
  382
  383
  384    14.      TITLE AND ENCUMBRANCES. Seller represents to Broker that title to the Property is solely in Seller’s
  385    name. Seller must deliver to Broker true copies of all relevant title materials, leases, improvement location
  386    certificates and surveys in Seller’s possession and must disclose to Broker all easements, liens and other
  387
  388
         encumbrances, if any, on the Property, of which Seller has knowledge. Seller authorizes the holder of any
  389    obligation secured by an encumbrance on the Property to disclose to Broker the amount owing on said
  390    encumbrance and the terms thereof. In case of Sale, Seller agrees to convey, by a Special Warranty deed,
  391
  392
         only that title Seller has in the Property. Property must be conveyed free and clear of all taxes, except the
  393    general taxes for the year of closing.
  394            All monetary encumbrances (such as mortgages, deeds of trust, liens, financing statements) must be
  395
         paid by Seller and released except as Seller and buyer may otherwise agree. Existing monetary encumbrances
  396
  397    are as follows: n/a.
  398            The Property is subject to the following leases and tenancies: none. .
  399
  400
                 If the Property has been or will be subject to any governmental liens for special improvements installed
  401    at the time of signing a Sale contract, Seller is responsible for payment of same, unless otherwise agreed.
  402
  403
         15. EVIDENCE OF TITLE. Seller agrees to furnish buyer, at Seller’s expense, unless the parties agree in
  404
  405    writing to a different arrangement, a current commitment and an owner’s title insurance policy in an amount
  406    equal to the Purchase Price as specified in the Sale contract, or if this box is checked, An Abstract of Title
  407    certified to a current date.
  408
  409
  410    16. ASSOCIATION ASSESSMENTS. Seller represents that the amount of the regular owners’ association
  411    assessment is currently payable at approximately $ per and that there are no unpaid regular or special
  412
  413    assessments against the Property except the current regular assessments and except . Seller agrees to
  414    promptly request the owners’ association to deliver to buyer before date of closing a current statement of
  415    assessments against the Property.
  416
  417
  418    17. POSSESSION. Possession of the Property will be delivered to buyer as follows: Delivery of deed.,
  419    subject to leases and tenancies as described in § 14.
  420
LC50-6-16.   EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                 Page 6 of 9




                                         CTMeContracts.com - ©2018 CTM Software Corp.
                     Case 17-12560-KJC              Doc 3063-3          Filed 11/27/18      Page 8 of 10
  421
  422
         18.    MATERIAL DEFECTS, DISCLOSURES AND INSPECTION.
  423
  424          18.1. Broker’s Obligations. Colorado law requires a broker to disclose to any prospective buyer all
  425    adverse material facts actually known by such broker including but not limited to adverse material facts
  426    pertaining to the title to the Property and the physical condition of the Property, any material defects in the
  427
  428    Property, and any environmental hazards affecting the Property which are required by law to be disclosed.
  429    These types of disclosures may include such matters as structural defects, soil conditions, violations of health,
  430    zoning or building laws, and nonconforming uses and zoning variances. Seller agrees that any buyer may have
  431
  432
         the Property and Inclusions inspected and authorizes Broker to disclose any facts actually known by Broker
  433    about the Property.
  434          18.2. Seller’s Obligations.
  435
                     18.2.1. Seller’s Property Disclosure Form. Disclosure of known material latent (not obvious)
  436
  437    defects is required by law. Seller     Agrees      Does Not Agree to provide a Seller’s Property Disclosure
  438    form completed to Seller’s current, actual knowledge.
  439                 18.2.2. Lead-Based Paint. Unless exempt, if the improvements on the Property include one or
  440
  441    more residential dwellings for which a building permit was issued prior to January 1, 1978, a completed
  442    Lead-Based Paint Disclosure (Sales) form must be signed by Seller and the real estate licensees, and given to
  443    any potential buyer in a timely manner.
  444
  445
                      18.2.3. Carbon Monoxide Alarms. Note: If the improvements on the Property have a fuel-fired
  446    heater or appliance, a fireplace, or an attached garage and one or more rooms lawfully used for sleeping
  447    purposes (Bedroom), Seller understands that Colorado law requires that Seller assure the Property has an
  448
         operational carbon monoxide alarm installed within fifteen feet of the entrance to each Bedroom or in a location
  449
  450    as required by the applicable building code, prior to offering the Property for sale or lease.
  451                 18.2.4. Condition of Property. The Property will be conveyed in the condition existing as of the
  452    date of the sales contract or lease, ordinary wear and tear excepted, unless Seller, at Seller’s sole option,
  453
  454    agrees in writing to any repairs or other work to be performed by Seller.
  455
  456    19.    RIGHT OF PARTIES TO CANCEL.
  457
  458
                19.1. Right of Seller to Cancel. In the event Broker defaults under this Seller Listing Contract, Seller
  459    has the right to cancel this Seller Listing Contract, including all rights of Brokerage Firm to any compensation if
  460    the Seller Agency box is checked. Examples of a Broker default include, but are not limited to (1) abandonment
  461
         of Seller, (2) failure to fulfill all material obligations of Broker and (3) failure to fulfill all material Uniform Duties
  462
  463    (§ 5) or, if the Seller Agency box at the top of page 1 is checked, the failure to fulfill all material Additional
  464    Duties Of Seller’s Agent (§ 6). Any rights of Seller that accrued prior to cancellation will survive such
  465    cancellation.
  466
  467           19.2. Right of Broker to Cancel. Brokerage Firm may cancel this Seller Listing Contract upon written
  468    notice to Seller that title is not satisfactory to Brokerage Firm. Although Broker has no obligation to investigate
  469    or inspect the Property, and no duty to verify statements made, Brokerage Firm has the right to cancel this
  470
  471
         Seller Listing Contract if any of the following are unsatisfactory (1) the physical condition of the Property or
  472    Inclusions, (2) any proposed or existing transportation project, road, street or highway, (3) any other activity,
  473    odor or noise (whether on or off the Property) and its effect or expected effect on the Property or its occupants,
  474
         or (4) any facts or suspicions regarding circumstances that could psychologically impact or stigmatize the
  475
  476    Property. Additionally, Brokerage Firm has the right to cancel this Seller Listing Contract if Seller or occupant of
  477    the Property fails to reasonably cooperate with Broker or Seller defaults under this Seller Listing Contract. Any
  478    rights of Brokerage Firm that accrued prior to cancellation will survive such cancellation.
  479
  480
  481    20.     FORFEITURE OF PAYMENTS. In the event of a forfeiture of payments made by a buyer, the sums
  482
         received will be: (1)     100% will be paid to Seller; (2)    divided between Brokerage Firm and Seller, one-half
  483
  484    to Brokerage Firm but not to exceed the Brokerage Firm compensation agreed upon herein, and the balance to
  485    Seller; (3)    Other: . If no box is checked in this Section, choice (1), 100 % paid to Seller, applies. Any
  486
         forfeiture of payment under this section will not reduce any Brokerage Firm compensation owed, earned and
  487
  488    payable under § 7.
  489
  490
LC50-6-16.   EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                   Page 7 of 9




                                           CTMeContracts.com - ©2018 CTM Software Corp.
                    Case 17-12560-KJC             Doc 3063-3          Filed 11/27/18    Page 9 of 10
  491    21. COST OF SERVICES AND REIMBURSEMENT. Unless otherwise agreed upon in writing, Brokerage
  492
         Firm must bear all expenses incurred by Brokerage Firm, if any, to market the Property and to compensate
  493
  494    cooperating brokerage firms, if any. Neither Broker nor Brokerage Firm will obtain or order any other products
  495    or services unless Seller agrees in writing to pay for them promptly when due (examples: surveys, radon tests,
  496    soil tests, title reports, engineering studies, property inspections). Unless otherwise agreed, neither Broker nor
  497
  498    Brokerage Firm is obligated to advance funds for Seller. Seller must reimburse Brokerage Firm for payments
  499    made by Brokerage Firm for such products or services authorized by Seller.
  500
  501
  502
         22. DISCLOSURE OF SETTLEMENT COSTS. Seller acknowledges that costs, quality, and extent of service
  503    vary between different settlement service providers (e.g., attorneys, lenders, inspectors and title companies).
  504
  505
         23. MAINTENANCE OF THE PROPERTY. Neither Broker nor Brokerage Firm is responsible for
  506
  507    maintenance of the Property nor are they liable for damage of any kind occurring to the Property, unless such
  508    damage is caused by their negligence or intentional misconduct.
  509
  510
  511    24. NONDISCRIMINATION. The parties agree not to discriminate unlawfully against any prospective buyer
  512    because of the race, creed, color, sex, sexual orientation, marital status, familial status, physical or mental
  513    disability, handicap, religion, national origin or ancestry of such person.
  514
  515
  516    25. RECOMMENDATION OF LEGAL AND TAX COUNSEL. By signing this document, Seller acknowledges
  517    that Broker has advised that this document has important legal consequences and has recommended
  518
         consultation with legal and tax or other counsel before signing this Seller Listing Contract.
  519
  520
  521    26. MEDIATION. If a dispute arises relating to this Seller Listing Contract, prior to or after closing, and is not
  522    resolved, the parties must first proceed in good faith to submit the matter to mediation. Mediation is a process
  523
  524    in which the parties meet with an impartial person who helps to resolve the dispute informally and
  525    confidentially. Mediators cannot impose binding decisions. The parties to the dispute must agree, in writing,
  526    before any settlement is binding. The parties will jointly appoint an acceptable mediator and will share equally
  527
  528
         in the cost of such mediation. The mediation, unless otherwise agreed, will terminate in the event the entire
  529    dispute is not resolved within 30 calendar days of the date written notice requesting mediation is delivered by
  530    one party to the other at the other party’s last known address.
  531
  532
  533    27. ATTORNEY FEES. In the event of any arbitration or litigation relating to this Seller Listing Contract, the
  534    arbitrator or court must award to the prevailing party all reasonable costs and expenses, including attorney and
  535    legal fees.
  536
  537
  538    28. ADDITIONAL PROVISIONS. (The following additional provisions have not been approved by the
  539    Colorado Real Estate Commission.)
  540
  541
         Listing prices are listed on Exhibit A. In the event list price is TBD Seller and Listing Agent
  542    shall agree to a List Price in writing prior to listing property in the MLS.
  543
  544
  545    29.   ATTACHMENTS. The following are a part of this Seller Listing Contract:
  546    n/a
  547
  548
  549    30. NO OTHER PARTY OR INTENDED BENEFICIARIES. Nothing in this Seller Listing Contract is deemed
  550    to inure to the benefit of any person other than Seller, Broker and Brokerage Firm.
  551
  552
  553
         31.    NOTICE, DELIVERY AND CHOICE OF LAW.
  554          31.1. Physical Delivery. All notices must be in writing, except as provided in § 31.2. Any document,
  555    including a signed document or notice, delivered to the other party to this Seller Listing Contract, is effective
  556
         upon physical receipt. Delivery to Seller is effective when physically received by Seller, any signator on behalf
  557
  558    of Seller, any named individual of Seller or representative of Seller.
  559          31.2. Electronic Delivery. As an alternative to physical delivery, any document, including a signed
  560
LC50-6-16.   EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT                 Page 8 of 9




                                         CTMeContracts.com - ©2018 CTM Software Corp.
                      Case 17-12560-KJC         Doc 3063-3          Filed 11/27/18     Page 10 of 10
  561    document or written notice, may be delivered in electronic form only by the following indicated methods:
  562
            Facsimile        E-mail         Internet. If no box is checked, this § 31.2 is not applicable and § 31.1
  563
  564    governs notice and delivery. Documents with original signatures will be provided upon request of any party.
  565          31.3. Choice of Law. This Seller Listing Contract and all disputes arising hereunder are governed by
  566    and construed in accordance with the laws of the State of Colorado that would be applicable to Colorado
  567
  568    residents who sign a contract in this state for property located in Colorado.
  569
  570    32.    MODIFICATION OF THIS LISTING CONTRACT. No subsequent modification of any of the terms of this
  571
  572
         Seller Listing Contract is valid, binding upon the parties, or enforceable unless made in writing and signed by
  573    the parties.
  574
  575
         33.   COUNTERPARTS. This Seller Listing Contract may be executed by each of the parties, separately, and
  576
  577    when so executed by all the parties, such copies taken together are deemed to be a full and complete contract
  578    between the parties.
  579
  580
  581    34.    ENTIRE AGREEMENT. This agreement constitutes the entire contract between the parties, and any
  582    prior agreements, whether oral or written, have been merged and integrated into this Seller Listing Contract.
  583
  584
  585
         35.    COPY OF CONTRACT. Seller acknowledges receipt of a copy of this Seller Listing Contract signed by
  586    Broker, including all attachments.
  587
  588
         Brokerage Firm authorizes Broker to execute this Seller Listing Contract on behalf of Brokerage Firm.
  589
  590
  591
  592
  593
  594
  595
  596
  597                                                                                         Date:      4/26/2018
  598        Seller: Woodbridge Group of Companies, LLC
  599
  600
                    By: Frederick Chin, CEO
  601        Address:
  602        Phone: Fax:
  603
  604        Electronic Address:
  605
  606
  607
  608
  609
  610
  611                                                                                         Date:      4/13/2018
  612
         Broker: Laura Gee
         Brokerage Firm s Name: Aspen Snowmass Sotheby`s
         Address: 201 Midland Avenue Basalt, CO 81621
         Ph: 970-948-8568 Fax: Electronic Address: Laura.Gee@SothebysRealty.com;
         raleigh.vos@sothebysrealty.com

         LC50-6-16        EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT
         CTM eContracts - ®2016 CTM Software Corp.




LC50-6-16.     EXCLUSIVE RIGHT-TO-SELL LISTING CONTRACT              Page 9 of 9




                                        CTMeContracts.com - ©2018 CTM Software Corp.
